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8                         UNITED STATES DISTRICT COURT

9                        EASTERN DISTRICT OF CALIFORNIA

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12   UNITED STATES OF AMERICA,               No. 2:95-cr-0020
13                Plaintiff,

14        v.                                 ORDER
15   JUAN RAMIREZ CAMPOS,

16                Defendant.

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19             Defendant Juan Ramirez Campos moves for a reduction of

20   sentence pursuant to 18 U.C.C. § 3582(c)(2).         To be eligible for

21   such a reduction, defendant must show that his sentence was

22   “based on a sentencing range that has subsequently been lowered

23   by the Sentencing Commission.”      United States v. Wesson, 583 F.3d

24   728, 730 (9th Cir. 2009).     However, defendant was found at the

25   time of sentencing to be a career offender, and as such was

26   sentenced pursuant to § 4B1.1 of the Sentencing Guidelines.

27   Accordingly, Amendment 782, upon which defendant relies, did not

28   lower the sentencing range in this case.        See United States v.
                                         1
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1    Charles, 749 F.3d 767, 770 (9th Cir. 2014)(“[R]etroactive

2    amendments regarding sentences under the drug guidelines do not

3    affect individuals who were sentenced as career offenders.”)

4               Defendant’s argument that his sentence violated

5    Apprendi v. New Jersey, 530 U.S. 466 (2000), does not affect this

6    motion.   Apprendi did not invalidate § 4B1.1.        See United States

7    v. McBride, 283 F.3d 612, 616 (3rd Cir. 2002)(holding that

8    defendant’s “Apprendi argument was independent of and unrelated

9    to any change in the Guidelines and was, therefore, outside the

10   scope of a sentence modification under § 3582.”)

11              IT IS THEREFORE ORDERED that defendant’s motion for a

12   reduction of sentence pursuant to 18 U.C.C. § 3582 be, and the

13   same hereby is, DENIED.

14   Dated:    October 14, 2016

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